    Case: 1:20-cv-00734 Document #: 70 Filed: 02/18/22 Page 1 of 4 PageID #:373




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

DOVONI R. SINGLETON, MANISH MOTWANI,                  )
ILLINOIS STATE RIFLE ASSOCIATION, and                 )
SECOND AMENDMENT FOUNDATION, INC.                     )
                                                      )
                     Plaintiffs,                      )
                                                      )
               v.                                     )
                                                      )       No. 1:20 CV 734
ILLINOIS STATE POLICE, BRENDAN F.                     )
KELLY, in his official capacity as Director of the    )
Illinois State Police, and GREGORY HACKER, in )
his official capacity as Bureau Chief of the Illinois )
State Police Firearms Services Bureau,                )
                                                      )
                     Defendants.                      )

                                 JOINT STATUS REPORT

      The Plaintiffs, Dovoni R. Singleton, Manish Motwani, Illinois State Rifle

Association, and Second Amendment Foundation, Inc., and the Defendants, Illinois

State Police, Brendan F. Kelly, in his official capacity as Director of the Illinois

State Police, and Gregory Hacker, in his official capacity as Bureau Chief of the

Illinois State Police Firearms Services Bureau, by and through their respective

undersigned counsel, and submit this Joint Status Report:

I. Nature of the Case

      A.     The Plaintiffs are represented by David G. Sigale (lead) and Gregory A.

Bedell. The Defendants are represented by Amanda L. Kozar.

      B.     The basis for federal jurisdiction is 28 U.S.C. §§ 1331, 1343, 2201 and

2202, and 42 U.S.C. §1983, in that this action seeks to redress the alleged


                                            1
    Case: 1:20-cv-00734 Document #: 70 Filed: 02/18/22 Page 2 of 4 PageID #:374




deprivation, under color of the laws, statutes, ordinances, regulations, customs, and

usages of the Defendants as they execute, administer and enforce the complained-of

laws, of the rights, privileges or immunities secured by the United States

Constitution and by Acts of Congress.

        C.   Plaintiff allege violations of their Second Amendment and Fourteenth

Amendment procedural due process rights due to the Defendants’ administration of

the appeals process of the Firearm Owners Identification (“FOID”) Act (430 ILCS

65/10). Plaintiffs filed a Second Amended Complaint on October 16, 2020, and

Defendants filed an Amended Answer and Affirmative Defenses on November 3,

2021.

        D.   Plaintiffs seek declaratory, injunctive, and compensatory relief.

Plaintiffs also are making a 42 U.S.C. § 1988 claim.

        E.   The major legal and factual issues anticipated in the case are the

administration of the FOID card appeals system by the Defendants and their

employees/subordinates, and whether the FOID appeal system, and the

administration thereof, violate the Plaintiffs’ Second and Fourteenth Amendment

rights.

        F.   All Defendants have been served.

II. Discovery and Case Plan

        A.   The parties have propounded F.R. Civ. P. 33 Interrogatories and F.R.

Civ. P. 34 Document Requests. The parties anticipate the taking of depositions.

        B.   The parties anticipate fact discovery completion on September 30,


                                          2
    Case: 1:20-cv-00734 Document #: 70 Filed: 02/18/22 Page 3 of 4 PageID #:375




2022.

        C.   If there will be expert discovery, an expert discovery completion date,

including dates for the delivery of expert reports (or summaries for non-retained

expert testimony), will be October 31, 2022 for disclosure of Plaintiffs’ expert report,

November 30, 2022 for the deposing of Plaintiff’s expert, January 31, 2021 for

disclosure of Defendants’ expert report, February 28, 2023 for the deposing of

Defendants’ expert. The “extra” time in December and January is for the typical

delays encountered during the holiday season.

        D.   There are no currently-pending motions. Plaintiffs anticipate motions

for summary judgment, and to resolve discovery disputes, if any.

        E.   The parties agree to service of pleadings and other papers by electronic

means under F.R. Civ. P. 5(b)(2)(E).

III. Trial

        A.   Plaintiffs do not demand a jury. Should the case progress to trial,

defendants do demand a jury.

        B.   The parties anticipate being ready for trial by March 31, 2023.

        C.   The estimated length of trial is 7 days.

IV. Consent and Settlement Discussions

        A.   The parties do not unanimously consent to proceed before the

Magistrate Judge.

        B.   No settlement discussions have occurred.




                                           3
   Case: 1:20-cv-00734 Document #: 70 Filed: 02/18/22 Page 4 of 4 PageID #:376




      C.    The parties do not request a settlement conference at this time.



Dated: February 18, 2022                    Respectfully submitted,

Attorneys for Plaintiffs                    Attorneys for Defendants
Dovoni R. Singleton, Manish Motwani         Illinois State Police, Brendan F. Kelly,
Illinois State Rifle Association, and       and Gregory Hacker
Second Amendment Foundation, Inc.

/s/ David G. Sigale                         /s/ Amanda L. Kozar
David G. Sigale (Atty. ID #6238103)         Amanda L. Kozar (Atty. ID#6324190)
Law Firm of David G. Sigale, P.C.           Office of the Illinois Attorney General
430 West Roosevelt Road                     100 West Randolph Street, 13th Floor
Wheaton, IL 60187                           Chicago, IL 60601
630.452.4547                                (312) 814-6534
dsigale@sigalelaw.com                       AKozar@atg.state.il.us

Gregory A. Bedell (Atty. ID# 6189762)
Knabe & Bedell
33 North Dearborn Street
10th Floor
Chicago, Illinois 60602
312.977.9119
gbedell@kkbchicago.com




                                        4
